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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OHIO —
UNITED STATES OF AMERICA, ) Criminal No, 1:12CR110
)
VS, ) Judge Patricia A. Gaughan
)
Meredith Lowell, )
)

ORDER FOR DISMISSAL
Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of court

endorsed hereon the United States Attomey for the Northern District of Ohio hereby dismisses

without prejudice the Indictment against Meredith Lowell, defendant.

BM

Steven M. Dettelbach |
United States Attorney

Leave of court is granted for.the filing of the foregoing dismissal without prejudice.

 

Date: [-2Y-/4
